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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                            8:15CR343

        vs.
                                                                                ORDER
DIONTE DORTCH,

                        Defendant.


        This matter is before the court on defendant's MOTION TO EXTEND DATE FOR FILING OF
PRETRIAL MOTIONS [39]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 39-day extension. Pretrial Motions shall be filed by March 7,
2016.


        IT IS ORDERED:


        1.      Defendant's MOTION TO EXTEND DATE FOR FILING OF PRETRIAL MOTIONS
[39] is granted. Pretrial motions shall be filed on or before March 7, 2016.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between January 28, 2016 and March 7, 2016, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 29th day of January, 2016

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
